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EXHIBIT B
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TRADE AGREEMENT
between
District Council No. 9, Drywall Tapers and Pointers
of Greater New York Local Union 1974, affiliated with
International Union of Painters and Allied Trades,
AFL-CIO
and
Drywail Taping Contractors’ Association
of Greater New York
and
The Association of Wall-Ceiling & Carpentry Industry
of New York, Inc.
June 28, 2017
to

June 27, 2020

INDEPENDENT AGREEMENT
between
District Council No. 9, Drywall Tapers and Pointers
of Greater New York Local Union 1974, affiliated with
International Union of Painters and Allied Trades,
AFL-CIO
and

Employer

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DISTRICT COUNCIL NO. 9, DRYWALL TAPERS AND POINTERS
OF GREATER NEW YORK LOCAL 1974
International Union of Painters and Allied Trades
45 WEST 14TH STREET
NEW YORK, NY 10011
TEL: (212) 242-8500
DRYWALL TAPING CONTRACTORS’ ASSOCIATION
OF GREATER NEW YORK
7 RAILROAD STREET
GREENLAWN, NY 11740
TEL: (631) 261-4875
WALL-CEILING & CARPENTRY INDUSTRIES
OF NEW YORK, INC.

125 JERICHO TPK, #301
JERICHO, NY 11753
TEL: (516) 478-5600

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TRADE AGREEMENT
between
Drywall Tapers and Pointers of Greater New York
Local Union 1974 affiliated with
International Union of Painters and Allied Trades, AFL-CIO
and
Drywall Taping Contractors’ Association of

Greater New York and The Association of Wall-Ceiling & Carpentry Industries of New
York, Inc.

THIS AGREEMENT, hereinafter designated as the Trade Agreement, dated this 28th day of June
2017 by and between the Drywall Taping Contractors’ Association of Greater New York and The
Association of Wall-Ceiling & Carpentry Industries of New York, Inc., two separate and unrelated
Associations hereinafter collectively designated as the “ASSOCIATIONS”, and District Council
No. 9, Drywall Tapers and Pointers of Greater New York, Local Union 1974, affiliated with the
International Union of Painters and Allied Trades, AFL-CIO, hereinafter designated as the

“UNION”.
WITNESSETH as follows:

WHEREAS, the parties hereto desire to establish terms and conditions upon which workers
employed by members of the ASSOCIATIONS, hereinafter designated as “EMPLOYERS”, shall
perform tapers’, finishing and pointers’ work. Such workers are referred to below as
“EMPLOYEES”. Workers employed or seeking employment by Employers to perform such work
are referred to below as “JOURNEYPERSONS” and “APPRENTICES”. It is agreed that the word
“JOURNEYPERSONS” means a worker who is not presently a participant in the apprenticeship
program described in Article VII herein, and that the word “APPRENTICE” means one who is.
The word “EMPLOYEES” means all JOURNEYPERSONS and all APPRENTICES.

NOW THEREFORE, the parties hereto agree as follows:

ART. I. SECTION 1. The terms of this Trade Agreement shall govern all tapers’, finishers’ and
pointers’ work as hereinbelow defined performed within New York City and parts of Nassau
County-by any Employer as hereinabove defined. They shal! apply to all Employees of any
Employer, regardless of whether any or all such Employees are members of the Union. Tapers’
Finishers’ and Pointers’ work is defined to include, but not be limited to: the preparation or leveling

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of any surface or substrate which is to receive a coating, finish and/or wall covering; this will
include, but not be limited to, all levels of finishing and/or spackling of all surfaces, including
gypsum wallboard taping and finishing, fire taping and all fire-stopping systems, glaze coatings,
skim coating, spraying or any other finishing system, spotting or nails, finishing of corner
beads/flex beads.

Patching and sanding is within the system of preparing surfaces for finishes. All stucco and dryvit
systems will be performed by members of the International Union.

SECTION 2. The geographical jurisdiction of the Union consists of the following: The counties
of Bronx, Kings, New York, Queens, Richmond and parts of Nassau including: Atlantic Beach,
Ceaderhurst, East Rockaway, Gibson, Hewlett, Hewlett Bay, Hewlett Neck, Hewlett Park, Inwood,
Lawrence, Lido Beach, Long Beach, parts of Lynbrook, parts of Oceanside, parts of Valley Stream,
and Woodmere.

Starting on the South Side of Sunrise Highway in Valley Stream running east to Windsor and
Rockaway Avenue, Rockville Centre is the boundary line up to Lawson Boulevard, turn right
going west all the above territory is part of Drywall Tapers’ and Pointers’ of Greater New York
Local Union 1974.

Starting at Union Turnpike and Lakeville Road going north to Northern Boulevard the west side
of Lakeville road to Northem Boulevard is part of Drywall Tapers’ and Pointers’ of Greater New
York Local Union 1974. At Northern Boulevard going east the district north of Northern
Boulevard to Port Washington Boulevard is part of Drywall Tapers’ and Pointers’ of Greater New
York Local Union 1974, West of Port Washington Boulevard to St. Francis Hospital then north of
first traffic light to Port Washington and Sands Point, Manor Haven, Harbour Acres is part of
Drywall Tapers’ and Pointers’ of Greater New York Local Union 1974.

Towns included in the above boundaries are Bakers Point, Flower Hill, Great Neck, Great Neck
Estates, Harbour Acres, Kensington, Kings Point, Lake Success (west of Lakeville Road),
Manhasset, Manor Haven, Munsey, Plandome, all area north of Northen Boulevard to Port
Washington Boulevard, and Sands Point is part of Drywall Tapers’ and Pointers’ of Greater New
York Local Union 1974.

SECTION 3. No Employer will execute any agreement with a union other than Local Union 1974
in connection with work covered by this Agreement unless directed to do so by Government order

or regulation.

SECTION 4. The Associations on behalf of themselves and each of their members, hereby
recognizes the Union as the collective bargaining representative of all the Employees covered by
this Agreement. Any non-member signatory who becomes party to this Agreement does hereby

likewise recognize the Union as the collective bargaining representative of all the Employees of
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said Employer covered by this Agreement. Inasmuch as the Union has requested recognition from
the Employer as the sole and exclusive bargaining representative of the Employees in the
bargaining unit described herein within the meaning of Section 9(a) of the National Labor
Relations Act, and has submitted, or offered to submit, proof thereof in the form of signed and
dated authorization cards, and the Employer is satisfied that an uncoerced majority of its
Employees desire the Union to be their sole and exclusive representative within the meaning of
Section 9(a) of the Act in the bargaining unit described herein, pursuant to Section 9(a) of the Act,
the Employer hereby recognizes the Union as the sole and exclusive collective bargaining
representative of its Employees on all present and future job sites within the jurisdiction of the
Union, unless and until such time as the Union loses its status as the Employees’ exclusive
representative as a result of an NLRB election requested by the Employees. The Employer agrees
that during the life of this Agreement it will not request an NLRB election and expressly waives
any right it may have to do so.

SECTION 5.

(a) The Associations obligate themselves for their members and the Union obligates itself for its
members that they and each of them in good faith will live up to and conform with all the provisions
of this Trade Agreement and to all rules, regulations and procedures promulgated under and
pursuant to the terms of this Agreement, provided, however, that the Associations shall not be
obligated to take any action to require compliance with the terms of the Trade Agreement on the
part of any person or firm which has been expelled from or has validly resigned from the
Associations except as a prerequisite for the reinstatement of such member.

(b) No party to the Agreement shall discriminate against any Employee with respect to
employment or union membership by race, creed, color, national origin, gender (including gender
identity), age, sexual orientation, disability, marital status, citizenship status or any other
characteristics protected by federal, state or local law.

(c) All Journeypersons and Apprentices who are members of the Union at the time of hiring shall
remain in good standing as a condition of continued employment. Should any Joumneyperson or
Apprentice employed by the Employer not be a member of the Union at the time of hiring, they
shall be required to become a member of the Union by the eighth (8th) day after starting to work
in the Union section of the Industry and they shall remain a member in good standing as a condition
of continued employment. The Employer shall be free to hire Journeypersons or Registered
Apprentices from any source. However, no Employer shall seek to hire Journeypersons or
Apprentices through an Employment Agency. Any Employer hiring a non-union Journeyperson
or Apprentice shall first report the same to the Union and the said non-union Journeyperson or
Apprentice shall, before commencing work, register with the Union.

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ART. II. SECTION 1. WAGES. The wage and benefits package shall increase $1.60 per contract
year. The increases shall be allocated as determined by the Union.

(a) The rate of wages for all Journeypersons covered by this Agreement shall be as follows: for
the period commencing June 28, 2017 and terminating December 26, 2017, $47.82 per hour; for
the period commencing December 27, 2017 and terminating June 27, 2018, wages per hour shall
be allocated upon determination of the Union; for the period commencing June 28, 2018 and
terminating June 27, 2019, wages per hour shall be allocated upon determination of the Union;
for the period commencing June 28, 2019 and terminating June 27, 2020, wages per hour shall
be allocated upon determination of the Union,

(b) The rate of wages for all Apprentices covered by this Agreement enrolled in the Three Year
Apprentice Program shall be as follows: for the period commencing June 28, 2017 and terminating
December 26, 2017: 1% Year Apprentice $19.45 per hour, 2" Year Apprentice $28.69 per hour,
3 Year Apprentice $38.26 per hour; for the period December 27, 2017 and terminating June 27,
2018 wages per hour shall be allocated upon determination of the Union; for the period June 28,
2018 and terminating June 27, 2019, wages per hour shall be allocated upon determination of the
Union; for the period June 28, 2019 and terminating June 27, 2020, wages per hour shall be
allocated upon determination of the Union.

(c) The rate of wages for all Apprentices covered by this Agreement enrolled in the Four Year
Apprentice Program shall be as follows: for the period commencing June 28, 2017 and terminating
December 26, 2017: 1° Year Apprentice $19.45 per hour, 2 Year Apprentice $23.91 per hour,
3 Year Apprentice $28.69 per hour, 4" Year Apprentice $38.26 per hour; for the period December
27, 2017 and terminating June 27, 2018, wages per hour shall be allocated upon determination of
the Union; for the period June 28, 2018 and terminating June 27, 2019, wages per hour shall be
allocated upon determination of the Union; for the period June 28, 2019 and terminating June 27,
2020, wages per hour shall be allocated upon determination of the Union.

SECTION 2. COST OF LIVING ADJUSTMENTS.

(a) Effective dates. Costs of living wage adjustments shall be made effective July Ist of each year
throughout the duration of this Agreement.

(b) BASIS FOR ADJUSTMENT. The amount of the cost-of-living adjustment shall be determined
and re-determined as provided in (c) below on the basis of the official Consumer Price Index for
urban Wage Earners and Clerical Workers (including single workers) published by the Bureau of
Labor Statistics, U.S. Department of Labor (1967=100) and referred to herein as the Index.

(c) AMOUNT OF ALLOWANCE. The amount of the cost-of-living adjustment shall be computed
as follows: On May 28, 2017 the most recent and available (the month prior to the anniversary
date) Index number shall be compared to the Index number a year prior and a percent change

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computed. The figure of eight percent (8%) shall then be deducted therefrom. The remaining
percent change shall be applied to all rates as mentioned in (d) below, but in no event shall the
cost-of-living adjustment be greater than three percent (3%).

(d) APPLICATION OF ADJUSTMENT. The cost-of-living adjustment shall be taken into account
in computing overtime, and in determining call-in pay as well as the base hourly rate for all
classifications.

(e) Nothing in this Article shall provide an adjustment for a decline in the Index.

SECTION 3, REOPENER. The parties agree to meet at the end of each contract year for the
purpose of reviewing the financial condition of the drywall finishing industry and the fringe benefit
funds to determine whether it is necessary to reopen the financial terms of the Agreement.

SECTION 4. SHOW-UP TIME. Employees who are not put to work after having been instructed
to come to work shall be paid for two (2) hours, except when they are not put to work because of
an act of God or because of an accident beyond the Employer’s control.

SECTION 5. LAY-OFF PAY. Journeypersons and Apprentices laid off shall be paid the full day’s
wages if laid off during the day except when such lay-off is caused by weather conditions or by
completion of the job. Should the Employee receive notice of lay-off for reasons other than the
completion of the job or weather conditions then they shall receive a fuil day’s wages one (1) hour
before the end of the work day. Failure to properly notify the Employee shall result in additional
damages to be paid by the Employer, the terms to be determined by the Joint Board.

SECTION 6. INJURIES. There shall be no lost time in wages to any Employee on the day of injury
when immediate medical attention is required for any Employee injured on the job, provided the
Employee submits proof that they have gone to a doctor or clinic for diagnosis or treatment.

SECTION 7. SICK LEAVE. The parties understand that the New York City Council has passed
legislation entitled the “earned Sick Time Act” (“the Act”). The parties expressly waive the
provisions of the Act. Further, the parties agree and acknowledge that this Agreement provides
benefits comparable to those provided by the Act to the Employees covered by this Agreement. If
the Act is revised in such manner as to make this waiver ineffective, this waiver is deemed
ineffective or invalid (in whole or in part) by a court or other body, or this waiver is ineffective or
invalid for any other reason, the parties agree to replace this paragraph with appropriate language
to waive the Act’s provisions.

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ART. III. SECTION 1. DUES CHECK-OFF.

(a) Every Employer signatory to the Agreement hereby agrees to check-off from the wages of any
Employee employed by such Employer during the term of this Agreement administrative dues in
the amount specified in the Union’s by-laws and to remit said amount to the Union.

(b) At the signing of this Agreement, the Union advises the Employer, and the Employer agrees,
that the amount of administrative dues presently specified in the by-laws, due the Union on behalf
of each Employee, is four and one-half percent (4.5%) of such Employee’s gross wages. In the
event that the Union by resolution or by-law amendment shall change the amount of administrative
dues so specified, the Union shall so inform the Employer.

SECTION 2. When a signatory Employer performs a job within the jurisdiction of a union
affiliated with the International Union of Painters and Allied Trades “IUPAT” other than the Union
signatory hereto and the by-laws of that other union contains a provision for administrative dues
or business agent “assessment”, the Employer shall check-off from the wages of Employees
covered by this Agreement and employed on that job administrative dues or business agent
“assessment” in the amount stated in that other union’s by-laws, and shall remit said amount to
that other union. In that event, the other union shall be acting as agent of the signatory Union for
the purpose of policing and administrating this Agreement. In performing the check-off, the
procedure specified in Section 1, sub-sections (a) and (b), will be followed, except that it shall be
the responsibility of said other union to notify the Employer in writing of the amount of
administrative dues or business agent “assessment” specified in its by-laws, and to submit to the
Employer a copy of the by-laws or the applicable by-law provision. When the signatory Employer
performs a job within the jurisdiction of a union affiliated with the TUPAT other than the Union
signatory hereto, and the by-laws of that other union contain no provision for administrative dues
or business agent “assessment”, the Employer shall continue to be bound by Section 1. If the by-
laws of the other union provide for administrative dues or business agent assessment at a lower
percentage than four and one-half percent (4.5%) of the Employee’s gross wages, the Employer
shall remit the balance to the signatory Union.

SECTION 3. The obligations of the Employer under Sections | and 2 shall apply only as to
Employees who have voluntarily signed a valid dues deduction authorization card.

SECTION 4. At the time of employment of any Employee, the Employer will submit to each
Employee for his/her voluntary signature a dues deduction authorization card in triplicate, one
copy of which is retained by the Employer supplied to such Employer by the Union.

ART. IV. SECTION 1.

(a) FIVE (S) DAY WEEK, SEVEN (7) HOUR DAY: The regular time shall consist of thirty-five

(35) hours per week divided into five (5) work days (from Monday to Friday inclusive) of seven
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(7) hours each. The work day shall be from 8:00 A.M. to noon and from 12:30 P.M. to 3:30 P.M.
or from 7:00 A.M. to 12:00 P.M. and from 12:30 P.M. to 2:30 P.M. or from 9:00 A.M. to 1:00
P.M. and from 1:30 P.M. to 4:30 P.M. Any job wishing to have a one hour lunch period shall
request permission from the Union before instituting this procedure. The Union shall have the
authority to grant a 6:00 A.M. start at the request of an Employer. The work week shall begin on
Wednesday and end on the following Tuesday. The Union shall have the power, at the request of
any Employer, to change the regular work hours of each Employee.

For Project Labor Agreement jobs and special industry jobs, approved by the Union, the regular
time shall consist of forty (40) hours per week divided into five (5) work days (from Monday to

Friday inclusive) or eight (8) hours each.

At any time that unemployment in the trade equals or exceeds thirty percent (30%) the Union may
order reduction of the work week, except for Project Labor Agreement jobs.

(b) OVERTIME PERMITS: An overtime permit shall be obtained in advance from the Union for
any overtime work and the permit shall be posted on the job, except when the circumstances make
this impossible. The Employer’s request for an overtime permit shall be telephoned or faxed to the
Union prior to the granting of the permit. The Employer shall notify the Job Steward at the time

of making the request to the Union.

During the course of the year all Journeypersons and Apprentices in the shop shall be given an
equal share of all overtime work where possible, and the assignment of such work shall be done

in consultation with the Steward.

Before any overtime permit is issued, the Employer requesting the same shall submit to the Union
a list of all his/her taping Employees who shall perform such overtime work.

(c) OVERTIME WORK AND HOLIDAYS: Work done outside of regular time or work beyond
seven (7) hours in a day, except for work done on Project Labor Agreement and special industry
jobs, and all work done on Saturday, Sunday, New Year’s Day, Martin Luther King, Jr. Day,
President’s Day, Good Friday, Memorial Day, Independence Day, Columbus Day, Thanksgiving
Day, the last legal working day before Christmas, Christmas Day and the last legal working day
before New Year’s Day shall be paid for at one and one half (1 1/2) times the rate of regular time.
NO WORK SHALL BE DONE ON LABOR DAY. Work performed on the afternoon of said days
shall be paid at the overtime rate. No fringe benefit contributions shall be payable on the half-
holidays referred to above. Fringe benefit contributions for overtime hours shall be payable at the

straight time rate,

(d) In the event that the Joint Board shall find the Employer guilty of violating the overtime
provision of the Trade Agreement, it may authorize the Union to place fifty percent (50%) of the

overtime workers on the Employer’s jobs for the period of one (1) year. Furthermore, during the
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six (6) months following such findings of guilt, the Joint Board may require that the overtime
compensation becoming due to the Employees shall be transmitted to the Union in the form of a
separate check payable to each Employee for the full overtime compensation, without deductions,
the legal deductions to be made from the straight time compensation which is paid directly to the

Employee.

(e) Saturday, Sunday and overtime work shall not be permitted except when unavoidable, in which
case 4 written consent via fax shall be obtained from the Union.

(f) The Union may permit shift work on construction projects when requested by the Employer.
The shift rate of pay shall be 8 hours pay for 7 hours work or 9 hours pay for 8 hours of work. The
request for shift work must be for a minimum of three consecutive nights. The Employer must

register the job to make a request for shift work.

ART. V. OUT-OF-TOWN WORK: When Local Union 1974 Journeypersons or Apprentices work
out-of-town for an Employer both the Employer and the Employee shall notify Local Union 1974
prior to the commencement of the work. Local Union 1974 Journeypersons and Apprentices
working out-of-town shall receive the wages and work the hours provided for in this Trade
Agreement unless local wages are higher, in which case they shall receive the local wages, unless

Government regulations provide otherwise.

Out-of-town work constitutes work which is located outside the geographical jurisdiction of the
Union.

The Employer party hereto shall, when engaged in work outside the geographic jurisdiction of the
Union party to the Agreement, comply with all of the lawful clauses of the Collective Bargaining
Agreement in effect in said other geographic jurisdiction and executed by the Employers of the
industry and the affiliated Local Unions in that jurisdiction, including but not limited to, the wages,
hours, working conditions, fringe benefits, and procedure for settlement of grievances set forth
therein; provided, however, that as to Employees employed by such Employer from within the
geographic jurisdiction of the Union party to this Agreement and who are brought into an outside
jurisdiction, such Employee shall be entitled to receive the wages and conditions effective in either
the home or outside jurisdiction whichever are more favorable to such Employees, and fringe
benefit contributions on behalf of such Employees shall be made solely to their home funds in
accordance with their governing documents. This provision is enforceable by the Local Union or
District Council in whose jurisdiction the work is being performed, both through the procedure for
settlement of grievances set forth in its applicable Collective Bargaining Agreement and through
the courts, and is also enforceable by the Union party to the Agreement, both through the procedure
for settlement of grievances set forth in the Agreement and through the courts.

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When engaged in work outside the geographical jurisdiction of this Agreement, the Employers
agree, subject to their rights to reject any applicant for cause, that not less than 50% of the
Journeypersons employed on such work will be residents of the area where the work is performed
or are customarily employed a greater percentage of their time in such area, and further provided
that these Journeypersons are qualified to meet the job requirements.

When an Employer (other than an Employer in the special branches) does any work outside his/her
home city or town and in a locality where a District Council or Local Union exists, not less than
50% of the Journeypersons employed on such work shall be residents of or employed the greater
percentage of their time in such locality; any others shall be employed only from the contractor’s

home locality.

The contractor of the Employer party to the Agreement, when engaged in work outside the
geographical jurisdiction of the Union party to this Agreement, shall employ not less than 50% of
the Journeypersons employed on such work from the residents of the area where the work is
performed or from among persons who are employed the greater percentage of their time in such
area; any others shall be employed only from the contractor’s home area.

Out-of-town workers employed by the Employer party to this Agreement shall register with the
Union when engaged in work within the geographical jurisdiction of the Union, in accordance with
the IUPAT Constitution.

ART. VL. SECTION 1. TRAVEL PAY. On all out-of-town jobs located more than fifty (50) miles
from the Union office the Journeypersons shall be provided by the Employer with transportation.
All time consumed in traveling to and from the place shall be paid for at the regular rate of wages,
but shall not exceed eight (8) hours in every twenty-four (24) hours. A Journeyperson going out-
of-town at night shall not be paid, but sleeping accommodations and meals shal! be provided.

SECTION 2.

(a) Employees required to remain out-of-town overnight or longer shall be paid one (1) hour
additional per day, and shall be provided with suitable hotel accommodations and an allowance in

addition to $60.00 per day for board.

(b) Employees required by their Employers to use cars shall be paid at the rate of fifty-five cents
(.55) per mile for such car use.

(c) In all cases, all fares in excess of five dollars ($5.00) per day shall be paid by the Employer and
if the job is located more than one mile from the railroad or bus station, the Employer shall provide

traveling facilities.

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ART. VII. SECTION 1. APPRENTICES.

(a) Commencing on June 28, 2017 and for the duration of this Trade Agreement, the Associations
agree that the Employer shall make payments to the District Council #9 Finishing Trade Institute
of New York at the rate of $0.50 cents per hour, Apprentices shall be trained pursuant to the District
Council #9 Finishing Trade Institute of New York program. Upon approval by the New York
State Department of Labor, the Apprentice Program for newly enrolled apprentices shall be
increased to 48 months. All existing apprentices shall continue their 36-month program. The rate

of wages for apprentices shall be as follows:

36 Month Program:

Wages for the first twelve months of apprenticeship are contained in Article II, Section 1.
Wages for the second twelve months of apprenticeship are contained in Article IT, Section 1.
Wages for the third twelve months of apprenticeship are contained in Article II, Section 1.

After the thirty-sixth month, subject to the rules of the program, such Apprentice shall be
considered a full-fledged Journeyperson and shall receive full Journeyperson’s wages.

48 Month Program:

Wages for the first twelve months of apprenticeship are contained in Article II, Section 1.
Wages for the second twelve months of apprenticeship are contained in Article I, Section 1.
Wages for the third twelve months of apprenticeship are contained in Article II, Section 1.
Wages for the fourth twelve months of apprenticeship are contained in Article If, Section 1 .

After the forty-eighth month, subject to the rules of the program, such Apprentice shall be
considered a full-fledged Journeyperson and shall receive full Journeyperson’s wages.

(b) One Apprentice, but no more, may be employed on any job for every three (3) Journeypersons
with a maximum, however, of five (5) Apprentices on any single job.

(c) Upon the failure of the Employer to comply with the terms of (b) above, the Joint Board, after
due notice to the Employer, shall designate the appropriate number of apprentices to be employed

by that Employer.

(d) No Apprentice receiving less than 50% of Journeyperson’s wages shall work alone on a one
person job. All Apprentices may be certified for the use of tools.
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(e) Employers shall not require that any Apprentice work any day when the Apprentice is required
to attend Apprentice Training School unless the Employer has received permission in advance
from the Apprentice Training Coordinator.

(f) Qualified Journeypersons on any job site shall serve as a mentor to any Apprentice(s) working
on the job, and shall assist in any on-the-job training of the Apprentice(s). Neither the
Journeyperson nor the Apprentice shall be docked wages for the time spent performing on-the-job

mentoring.

SECTION 2. APPRENTICESHIP COMMITTEE. The parties agree to establish a Joint
Apprenticeship Committee composed of an equal number of Union and Associations’
representatives. The Joint Apprenticeship Committee shall establish rules and for the

administration of the committee.

The Joint Apprenticeship Committee shall be under the jurisdiction of the Joint Board and shall be
responsible for the placement and training of Apprentices in the trade of taping the work is
available, and in accordance with the rules of the Board.

The conditions of employment of Apprentices shall be regulated by the Joint Board, which shall
also have the power to formulate regulations for a system of required employment for Apprentices.

All registered Apprentices are bound by the Agreement they sign, and by all rules and regulations
of the Joint Apprenticeship Committee of the Joint Board. -

It is the obligation of the Union to advise the Employer, in writing, of any change in the pay status
of an Apprentice.

ART. VIII. SECTION 1. PAYMENT OF WAGES.

(a) Wages shall be paid on the job, during regular working hours. The work week shall begin on
Wednesday and end on the following Tuesday. Wages shall be paid by check. Payday shal! be on
Thursday. In the event that payday falls on a holiday, payment shall be made on the day previous
thereto. If payment by check is made on Friday, the Employees shall be allowed one-hour off to
cash their checks. The Employer shall pay all fees in connection with a dishonored check.

(b) Employees not paid on the day provided for in sub-section (a) immediately preceding, shall be
paid two (2) hours pay in addition to the wages due them. If the Employees are not paid by the
following Monday at 8:00 A.M., no Employees shall start work on that job until payment is made
in full to all workers. In addition to all other sums due them, the Employees shall be paid not less

than a full day’s wages for that day.

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(c) At the time of paying wages, the Employer shall give to each Employee a written statement
showing the amount of each and every deduction made from the wages. The statement shall also
show the Employee’s name and his/her Social Security number.

(d) Payment of cash to an Employee in lieu of proper wages and fringe benefits is prohibited. Any
Employer violating this section may be brought before the Joint Board which will determine the
fines or penalties to be assessed for the violation.

(e) Every Employer shall keep a complete set of books setting forth all business transactions. These
books shall consist of at least a check book, payroll book, cash book and accounts payable and
accounts receivable ledger. Such books, and all other employment records of the Employer, shall
be made available to the auditor of the Drywall Tapers’ Insurance Fund or Annuity Fund or any
other Fund established by this Agreement or the Joint Board on the written demand of either. In
the event that an Employer shall refuse or (ail (o make these records available to said auditor upon
fifteen (15) day’s written demand of such Fund or the Joint Board, and the auditor so certified to
the Joint Board, then the entire amount of the Employer’s escrow deposit or bond or other security
posted with the Joint Board as set forth in sub-division (f) of this Section, shal] forthwith become
due and payable, and the Joint Board shall apply and pay the same to the Drywall Tapers Insurance
Fund to the credit of the Employer. Failure to keep any of the records required in this sub-section
shall constitute a violation of this Agreement.

Whenever an audit is required, the Employer shall pay to the Joint Board an audit fee of $300.00
for the auditor’s services if books are not made available.

(f) Each Employer, within thirty (30) days after the signing of this Agreement and from time to
time thereafter as may be necessary under the terms hereof, shall provide security to the Joint
Board as authorized collection agent for the faithful performance by him/her of the requirements
under this Agreement for the payment of wages, insurance, welfare, pension and vacation benefits,
annuity contributions and penalties of liquidated damages assessed by the Joint Board. Such
security may be in the form of cash, proper security bond or other security acceptable to the Joint
Board, with which it shall be deposited, and it shall be in the amount of the sum of $20,000.

A further condition of such bond or deposit of security shall be that in the event that the Joint
Board shall bring suit against the Employer to recover under this sub-section (f), it shall be entitled,
in addition to the sum due therefor to a further amount equivalent to twenty-five percent (25%) of
the recovery as the liquidating cost of bringing suit.

(g) The Joint Board shall not accept any bond or other non-cash collateral from any Employer who
has failed in the past to make payment within five (5) days’ notice of any sums found by the Joint
Board to be due under this Agreement, or under a prior Agreement. In such cases, compliance with
the escrow deposit requirements hereof shall be by cash deposit only.

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(h) The Joint Board shall have the power, on two (2) weeks’ notice to all Employers, to change or
vary the above amounts.

(i) In the event that it shal] become necessary for the Joint Board to bring suit against an Employer
to collect unpaid wages, wage benefits, insurance benefits, annuity, pension payments or
assessments for violation of the Trade Agreement, the Employer shall provide additional security
in such form and amount as the Joint Board shall determine. Such security shall be in the form of
cash, government bond or bank certificate of deposit or increased surety bond, as the Board in its
discretion shall determine, and it shall be deposited by such Employer in escrow to secure payment
of such obligation in the future.

(j) Should the Trustees of any of the Funds or the Joint Board or any sub-committee of these bodies
find that the liability of any Employer as a result of any delinquency under this Agreement is
greater than his/her security deposit, the Joint Board may immediately demand and cause the
Employer to increase his/her security to an amount that will at least cover such liability. In such
case, such additional security shall be held separately in escrow by the Joint Board as security for
the good and faithful performance by the Employer of the terms of this Agreement. Such additional
security or any unexpended portion thereof shall be returned to the Employer at the expiration of
this Agreement. The Joint Board is hereby authorized for each such Employer’s account to pay
out of his/her security account any sum found by said Board to be due hereunder from the
Employer for unpaid wages, contributions to the Drywall Tapers Insurance Fund, or any other
contractual monetary obligation under this Agreement. Within twenty-four (24) hours after notice
to any such Employer of such a finding and payment of the Joint Board out of that Employer’s
security account, the Employer shall replenish and replace in continuing escrow with the Joint
Board the exact amount withdrawn and disbursed on his/her account from his/her security account.

(k) The Union shall not enter into a contract with any Employer who is indebted under the terms
of this Agreement or any prior Trade Agreement by reason of his/her non-payment of wages, wage
benefits, annuities, pensions or penalties or liquidated damages assessed by the Joint Board,
whether such Employer proposes the making of such contract under his/her own name or under
the name of any firm or corporation in which he is a principal or has substantial interest.

The Union will not sign an Agreement with any Employer who is unable or unwilling to show
proof of financial responsibility.

ART. IX. FOREPERSON. Whenever there are five (5) or more drywall tapers on a job, one of the
Journeypersons shall be designated by the Employer as a Foreperson. (An Apprentice may not be
designated as a Foreperson.) The Foreperson shall receive one (1) hours pay, in addition to the
regular wages and overtime payments, for each day’s work. The Foreperson shall be required at
the Employer’s sole discretion to work on the job.

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When supervisory conditions require the Foreperson to work more than seven (7) hours he may
do so without an overtime permit but he shall be compensated for such work on the basis of the

rate paid during the seven (7) hours of regular work.

On large jobs requiring assistant Forepersons, these assistant Forepersons shall be paid in the same
manner,

All Forepersons shall be drywall tapers or finishers who during the past year have worked the
greater portion of their work time within the geographical area covered by this Trade Agreement.

All Forepersons shall have OSHA, Scaffolding and CPR certifications.
ARTICLE X. SECTION 1. JOB STEWARDS.

(a) On any job employing two (2) or more Employees, the Union shall select a Job Steward from
among the Employees working on the job. The selected Job Steward must be a qualified
Journeyperson and be certified through the Union’s Steward’s course and all Employees are
eligible to attend the course and become certified. Once the Job Steward is selected, he/she shall
remain on the job as the second to last man on the job. All Employers outside the jurisdiction of
this Union must have a Job Steward from the Union Hall on each job. The qualifications of
Stewards are in the District Council 9 By-Laws.

(b) Unqualified or unproductive Job Stewards may be removed, subject to review by the Joint
Trade Committee, which shall convene a hearing within 24 hours.

(c) (i) If the Union files a grievance in accordance with Article XIII of this Trade Agreement
for the use of non-union Employees on the job, or non-payment of wages or fringe benefit stamps
or shortages thereof, the Joint Trade Committee shall conduct a hearing within forty-eight (48)
hours. All work shall continue on said job pending the hearing. No postponements of the hearing
shall be granted under any circumstances. If the hearing does not take place within 48 hours
because of management’s unavailability, the Union reserves the right to stop the job. (ii) If
the Joint Trade Committee finds that an Employer has committed either of the violations set forth
in sub-section (a) above, the remedies shall be as follows:

(aa) First violation for use of non-union Employee(s): the union will appoint a Job
Steward from the Union Hall on all Employer’s jobs employing two (2) or more Employees
for a period of one year.

(bb) Second violation for use of non-union Employee(s): the Union will appoint a
Job Steward from the Union Hail on all of the Employer’s jobs employing two (2) or more
Employees for the life of this Trade Agreement.

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(cc) First violation for non-payment or shortage of wages: the Union will appoint
a Job Steward from the Union Hall on all Employer’s jobs employing two (2) or more
Employees for a period of one year.

(dd) Second violation for non-payment or shortage of wages: the Union will
appoint a Job Steward from the Union Hall on all of the Employer’s jobs employing two
(2) or more Employees for the life of this Trade Agreement.

(ee) First violation for non-payment of fringe benefit stamps or shortages thereof
for all Employees on the job. The Union will appoint a Job Steward from the Union Hall
for the duration of the job on which the violation was committed.

(ff) Second violation for non-payment of fringe benefit stamps or shortages thereof
for all Employees on the job: The Union will appoint a Job Steward from the Union Hall
on all of the Employer’s jobs employing two (2) or more Employees for a period of one
year.

(gg) In the event that a Job Steward has been removed from a job, the placed Job
Steward will be of the same status (e.g, journeyperson, apprentice) as the Job Steward
being removed.

(iii) In the event that there is an individual stamp or wage shortage for an Employee
working on a job, the Union will notify the Employer in writing and demand that the Employee be
made whole. The Employer will then have forty-eight (48) hours from verified receipt of the
Union’s written demand to make the Employee whole. Ifthe Employer fails to make the Employee
whole within forty-eight (48) hours, the Union may remedy the violation in accordance with sub-
sections (a) and (b) above.

SECTION 2. SHOP STEWARDS.

(a) All new Employers who become parties to this Agreement shall have a Shop Steward appointed
by the Union. In shops having the following annual payroll or less, there shall be a Shop Steward
who shall be placed solely by the Union:

As of January 1, 2017: $1,150,000.00

As of January 1, 2018: $1,250,000.00

As of January 1, 2019: $1,350,000.00

As of January 1, 2020: $1,450,000.00
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The annual payroll amounts set forth above shall be based on the calendar year immediately
preceding each date set forth above. The annual payroll amounts shall be based on bargaining unit

Employees only.

The selected Shop Steward must be a qualified Journeyperson and be certified through the Union’s
Steward’s course and all Employees are eligible to attend the course and become certified.

(b) Unqualified or unproductive Shop Stewards may be removed, subject to review by the Joint
Trade Committee, which shall convene a hearing within 24 hours.

(c) Duties of the Shop Steward shall be as follows:

(i) The duties of a Steward shall consist of examining the dues books, work cards, and
reviewing and reporting for stamp program compliance of the Journeypersons and
Apprentices on the job and enforcing Union conditions and proper working conditions,

(ii) It is the responsibility of every Employer to submit weekly reports provided by the
Union and designated or called “Shop Steward Reports”. Failure to submit such reports
will result in a fine of five hundred dollars ($500) for each missing report.

SECTION 3. TIME FOR STEWARDS’ DUTIES.
(a) A Steward shall perform a fair day’s work as a working Journeyperson.

(b) No Steward shall be discriminated against for the proper performance of their duties. Said
Steward shall be allowed for the performance of their Steward’s duties not less than one hour per
day, on jobs having five or more workers.

SECTION 4. STEWARDS’ COMMITTEE. There shall be a Stewards’ Committee composed of
two representatives appointed by the Associations and two representatives appointed by the Union.

SECTION 5. The Stewards’ Committee shall hear Employer complaints against Stewards on
charges of misconduct or Union complaints of abuse of Stewards’ rights and shall meet within 48
hours. The Steward may not be suspended pending the disposition of charges if such failure is due
to the absence of the Employer’s representatives. He may be so suspended, however, if the
Committee’s failure to meet is due to the absence of the Union’s representatives. A quorum of the
Committee shall consist of one representative from each side and its finding shall be decided by

unit vote.
SECTION 6. DEADLOCK. In the event the Stewards’ Committee deadlocks or otherwise fails to

decide any complaint, either party may, within thirty days, refer the complaint to the Joint Trade
Board for final and binding decision, in accordance with the rules and regulations of the Board.

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SECTION 7. The parties agree to establish a joint labor-management committee, the purpose of
which is to identify violations of this Trade Agreement by, including but not limited to, reviewing
Shop Steward reports and remittance reports. The committee will meet on a regular basis. The
committee will hire one full-time staff person whose function will be, among other responsibilities
to be determined by the committee, to monitor Shop Steward reports and remittance reports and
report to the committee any potential violations of the Trade Agreement for further action by the
committee, and to make site visits as necessary to ascertain whether the trade Agreement is being

violated.

SECTION 8. A Shop Steward can act as a Job Steward but cannot replace a Job Steward who has
already been in place on the job.

SECTION 9, On jobs organized by the Union, the Steward will be selected from the Union Hall.

SECTION 10. A special registration form will be created for jobs that only employ two tapers.
The criteria will be small projects and touchups. The form will state the proposed Employees’
names. Ifthe Union approves the request, one of the two Employees will be assigned by the Union
to monitor the project. If the Employer violates this provision, the Employer will be written up on
charges and a Steward will be appointed from the Union Hall. If additional workers are added,
then the third taper on the project will be a certified Steward.

SECTION 11. Shop Stewards will be placed January 1“ of every calendar year and will remain in
the shop for one calendar year.

ART. XI. SECTIONI. REGISTRATION OF JOBS. Every Employer shall, twenty-four (24) hours
or more before the commencement of any job or operation, file with the Joint Board a written
statement of the exact location and nature thereof, including the address, the floor or area, proposed
Employees’ names, the name of the contractor’s client, the type of work required, and the type of
construction. In the event that work of the said job is done by any other Employer, such other
Employer shall within twenty-four (24) hours or more before commencing work file with the Joint
Board a written statement of the work to be performed by the Employer. The statement may be
filed with the Joint Board by fax or email.

In the event of any Employer’s failure to register as required by this section, the Union may order
that Employer’s Journeypersons and Apprentices to cease work.

Every Employer shall report to the Joint Board within twenty-four (24) hours the loss of any job.

Every Employer shall report to the Union and Associations within twenty-four (24) hours the
stoppage or suspension of any job for failure of payment. All job registrations shall be given a log
number and the Employer shall be notified of the same.

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SECTION 2.

(a) In the event that the Union has ordered an Employer’s Journeypersons and Apprentices to cease
work as permitted by Section 1 of this Article, the Employer shall stop the job and shall not re-
open it until the Union agrees that the Employer is in compliance with this section.

(b) In the event that any job has not begun within thirty (30) days after registration thereof, the
Employer shall re-register the job before opening the same and notify the Jab Steward. If the
Employer fails to re-register, the Job Steward shall receive full pay for the time lost.

(c) In the event that a job is stopped, or Employees are ordered to cease work as provided in this
Article, all Employees shall receive full pay for the time fost.

(d) In the event of any violation of this section, the Joint Board shall have authority to levy
whatever fines it may deem necessary and determine the working conditions that shall be observed

on the job.

ART. XII. BUSINESS MANAGER AND ORGANIZERS. The Union Business Manager and
Organizers may visit all jobs and shops for the purpose of ascertaining whether the ‘provisions of

the Agreement are being carried out.

ART. XIII SECTION 1. GRIEVANCE PROCEDURE. It is agreed that every effort shall be made
to settle Employee grievances promptly and amicably through the following procedures of

grievance adjustment:

(a) An Employee’s grievance shall first be presented by his/her Steward to the Employee’s
Foreperson. If no satisfaction is reached, the matter shall be referred to:

(b) The Union, which shall review the grievance with the Employer’s supervisor or other
representative designated by the Employer. If no satisfactory settlement is reached in this step of
the grievance procedure, the matter shall then be reduced to writing and referred to:

(c) A Joint Committee, comprised of a representative designated by the Associations and the
Business Manager of the Union or representatives respectively designated by each of them. The
Joint Committee shall adjust or dispose of the grievance or complaint within forty-eight (48) hours
after its receipt or, if it cannot do so, it shall refer the matter to:

(d) The Drywall Taping Industry Board (hereinbefore and hereinafter referred to as the Joint
Board), comprised of three (3) members of the Associations, designated by the Associations, and

three (3) members of the Union, designated by the Union.

(e) All complaints other than Employee grievances shall be presented to the Joint Committee
and/or the Joint Board and disposed of as indicated herein.

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(f) The Employee may state his/her grievance in writing at any stage of the proceedings.

(g) A report in writing shall be made by the Job Steward, Shop Steward, the Joint Committee and
the Joint Board in each case acted upon by them.

(h) This grievance procedure shall not operate as a bar or precondition to suit by the Union or by
one (1) or more trustees or participants in one (1) or more of the Funds for collection of
contributions owed such Funds by any Employer.

SECTION 2. ARBITRATION.

(a) Representation of the Complainant and Respondent. The Union as a complainant or respondent
shall be represented at the hearing by an officer or representative of the Union authorized by its
Secretary-Treasurer to act in such capacity, or by the business representative of the local union
having jurisdiction over the geographical area where the incident giving rise to the demand to
arbitrate occurred. An Associations’ Employer as a complainant or respondent, if a corporation,
shall be represented at the hearing by an officer thereof, or, ifa sole proprietorship, partnership or
unincorporated business association, by a principal thereof. If a complainant or respondent is a
member of an Employer association recognized by the Union, it may also be represented at the
hearing by a duly authorized member of such Associations. A party has the right to be represented
at the hearing by legal counsel.

(b) Hearing Procedures. The arbitration hearing shall be conducted by two (2) Chairpersons who
shall be members of the Joint Trade Committee, one of whom shall be an Associations’
representative and the other, a Union representative. The grievance or dispute, proof of due service
of same and any response thereto by the respondent will be presented at the inception of the
hearing. The complainant may present witnesses and other evidence in support of the request, and
the respondent may present witnesses in its defense. The respondent and complainant wil! both
have the right of cross-examination. The Joint Trade Committee shall be the judge of the relevance
and materiality of the evidence offered, and conformity to the state or federal rules of evidence
shall not be necessary. The Joint Trade Committee (and any subsequent arbitrators, i.e., the JTB
or AAA, pursuant to this Article) shall also consider any alleged violations of the National Labor
Relations Act and apply any statutory remedies, if any, with respect to any violation of the National
Labor Relations Act.

(c) Nature of Hearings. Hearings shall be as informal as may be reasonable and shall be conducted
in the manner considered appropriate by the Chairpersons. The Chairpersons shall have the
authority to vary the procedures as they deem necessary in order to insure that each party is
afforded a full and fair opportunity to present any and ail material and relevant evidence.

(d) Corroborating Witness. Absent extraordinary circumstances, the Union must produce a
corroborating witness (i.e., an individual with firsthand knowledge of the violation) to the Joint

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Trade Committee in order to meet its burden of proof at a hearing. There shall be no retaliation
against any member who provides witness testimony to the Joint Trade Committee.

(e) Minutes of Proceedings. Any party desiring a stenographic record shall make arrangements
directly with a stenographer and shall the notify the other party and the Joint Trade Committee at
least three (3) days in advance of the scheduled hearing date. The requesting party shall pay the
cost of the transcript and a copy of same must be made available at no cost to the Joint Trade

Committee upon the conclusion of the hearing.

(f) Postponements. Except as provided in Article X, Section 1(c)(i), the Joint Trade Committee
may, for good cause shown, postpone any hearing upon the request of a party or upon the Joint
Trade Committee’s own initiative, and shall also grant such postponement when all of the parties

agree.

(g) Hearing in the Absence of a Party. The hearing may proceed in the absence of a party or
representative who, after due notice, fails to appear or fails to obtain a postponement. A decision
and award of the Joint Trade Committee or Joint Trade Board shall not be made solely on the
default of a party. The Joint Trade Committee shall require the party who is present to submit
such evidence as may be required for the making of a decision.

(h) Interpretation and Application of Procedures, Rules and Regulations. The Joint Trade
Committee and Joint Trade Board shall interpret and apply the above procedures, rules and
regulations insofar as they relate to the power and duties of the Joint Trade Committee and the
Joint Trade Board, respectively. If an unresolvable difference arises between the Union and
Associations’ representatives on the Joint Trade Committee concerning the meaning or application
of these procedures, rules and regulations, it shall be resolved and decided by the Joint Trade

Board.
SECTION 3. ARBITRATION AWARDS.

(a) The Joint Trade Committee will, no later than thirty (30) days after the close of the hearing,
adjust or dispose of the grievance or dispute by rendering an award which may include the
imposition of fines and/or penalties, and any statutory remedies available under the National Labor
Relations Act. The fines or penalties which may be imposed by the Joint Trade Committee are set
forth in the schedule of standardized fines which are made a part of this Article as Section 6. Ifa
demand for arbitration seeks the recovery of wages and/or benefits, the calculation of those wages
and benefits shall be presented and determined at the hearing and the total amounts owed shall be

reflected in the award.

(b) In the event the Joint Trade Committee fails to render an award within the time provided in the

preceding sub-section (a) or a decision cannot be made due to deadlock of the Joint Trade
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Committee, the Joint Trade Committee shall submit the grievance or dispute to the Joint Trade
Board, and the Joint Trade Board shall render an award. The failure of the members of the Joint
Trade Board to be present at the arbitration hearing before the Joint Trade Committee shall not .

preclude the issuance of an award by the Joint Trade Board.

(c) The awards of the Joint Trade Committee and/or the Joint Trade Board, including an award of
fines or penalties, shall be final and binding upon the complainant and respondent and all interested
parties, and judgment may be entered upon the award in accordance with applicable law in any

court having jurisdiction thereof.
SECTION 4. FINES AND PENALTIES.

(a) All fines and penalties awarded by the Joint Trade Committee and/or the Joint Trade Board,
less the reasonable administrative cost and expenses actually incurred, shall be used to defray the
costs of District Council No. 9’s enforcement of Joint Trade Committee awards, to advance the
industry, to sponsor educational programs for the members in good standing of the Union and their
children, to aid and assist in the establishment of programs to increase business activity within the
industry and develop and maintain maximum job opportunities for those Union members.

(b) When a Joint Trade Committee or the Joint Trade Board finds that an Associations’ Employer
is guilty of violating the Trade Agreement, the Joint Trade Committee or the Joint Trade Board
may, at its discretion, authorize the Union to designate up to fifty percent (50%) of the
JOURNEYPERSONS in the employ of such Associations Employer for a period not exceeding
six (6) months, provided that, with respect to violations of Article IV, the remedies set forth in

Article IV, Section 1(d) shall be applicable.
SECTION 5. PROTECTION OF COMPLAINANTS.

No Associations’ Employer shall dismiss any JOURNEYPERSON for giving evidence at an
arbitration hearing. Such person giving evidence or testimony shall have the protection of the
Joint Trade Committee and Joint Trade Board.

SECTION 6. SCHEDULE OF FINES.

The schedule of fines shall be in effect for the duration of this Trade Agreement, or until such time
as amended by the Joint Trade Board, will be not less than the following:

Violation 1: No Registration.
1" Offense
$500.00
2™ Offense

$750.00
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Violation 2:

Violation 3:

Violation 4:

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3" Offense

$1500.00 within 12 months, plus the Joint
Trade Committee has discretion to
implement 50% of the workers on the job
from the Union.

No registration and non-union workers on the job.
1* Offense

$1500.00 — no registration

$2000.00 — each non-union worker
2" Offense

$2000.00 — no registration, plus

$5000.00 for each non-union worker, plus the
Joint Trade Committee has discretion to
implement 50% of the workers on the job
from the Union.

No overtime permit.
1" Offense
$500.00
2™! Offense
$1000.00
3™ Offense

$1500.00 within 12 months, plus the Joint
Trade committee has discretion to implement
50% of the workers on the job from the
Union.

No overtime permit with non-union worker on the job.
1" Offense
$3000.00 — no permit
$1500.00 — each non-union worker
2™ Offense
$5000.00 — no permit
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Violation 5:

Violation 6:

Violation 7:

Violation 8:

Violation 9:

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$2000.00 — each non-union worker

3" Offense
$6000.00 within 12 months, plus $3000.00
for each non-union worker plus the Joint
Trade committee has discretion to implement
50% of the workers on the job from the
Union.

Discrimination against Job or Shop Steward or retaliation against
“whistleblowers”.

1* Offense
Wages and tringe benefits $1000.00
liquidated damages.

Non-union worker.

1" Offense

$2000.00 for each non-union worker plus
$1000.00 liquidated damages

2™ Offense

$5000.00 for each non-union worker plus
$1500.00 liquidated damages plus the Joint
Trade Committee has discretion to
implement 50% of the workers on the job
from the Union.

Subcontracting to non-union Employer

1* Offense

Penalty contingent upon size and scope of
project plus $3000.00 liquidated damages.

Failure to submit Shop Steward Reports or Remittance Reports
1" Offense
$500.00 each missing report

Failure to pay wages and/or fringe benefits or payment in cash for
wages and/or fringe benefits

1" Offense
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Any wages and fringe benefits owed plus
liquidated damages in an amount equal to the
unpaid (or cash-paid) fringe benefits only,
but no less than $2,000.00

Violation 10: Use of market recovery or other special rate journeyperson(s) on
non-market recovery job(s) or other corresponding operation(s).

1" Offense

Three times the penalty of Violation 6 above.
licable to all violati bove:

In addition to the penalty listed above with respect to the violations set forth in Section 6
above, with the exception of violations 1 and 8 (addressed above), if'a violation is found the Joint
Trade Committee and/or the Joint Trade Board shal! direct the Union to appoint a Job Steward
from the Union Hall for the duration of the job. With respect to violations | and 8, in addition to
the penalty listed above with respect to violations set forth in Section 6 above, the Joint Trade
Committee and/or the Joint Trade Board may direct the Union to appoint a Job Steward from the
Union Hall for the duration of the job.

SECTION 7. DEADLOCK OR FAILURE OF THE JOINT TRADE BOARD TO RENDER A
DECISION. If the Joint Trade Board deadlocks or otherwise fails to render an award deciding any
grievance or dispute within fourteen (14) days of submission to it by the Joint Trade Committee,
either party may, within thirty (30) days of the expiration of said fourteen (14) day period, refer
the grievance or dispute to arbitration by filing a written request with the Joint Trade Board, with
a copy served upon the opposing party. Upon receipt of such request, the Joint Trade Board shall
promptly submit such grievance or dispute to arbitration pursuant to the Labor Arbitration Rules
of the American Arbitration Association (“AAA”). The decision of the AAA arbitrator shall be

final and binding.

SECTION 8. Findings and decisions shall be transmitted to the Associations and to the Union and
each obligates itself to enforce such findings and decisions as the case may be.

SECTION 9. COMPLAINTS. No Employer shall dismiss any Journeyperson or Apprentice for
making a complaint or giving evidence with respect to an alleged violation of any provision of
Agreement prior to the hearing by the Joint Committee or the Joint Board of such complaint. Such
complainant shall have protection of the Joint Committee and the Joint Board. In the event of a
refusal of an Employer to give employment, the Employer shall be liable for the pay of such
Journeyperson or Apprentice for such time lost.

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SECTION 10, DESIGNATION OF JOURNEYPERSONS AND APPRENTICES. When the Joint
Board finds that an Employer is guilty of violating this Agreement, it may, at its discretion,
authorize the Union to designate up to fifty percent (50%) of the Journeypersons and Apprentices
in the employ of such Employer for a period not exceeding six (6) months, as the J oint Board may
decide.

ART. XIV. SECTION 1. JOINT BOARD, The Joint Board shall meet at the call of either of the
parties herein upon forty-eight (48) hours’ notice.

SECTION 2. The Joint Board shall have the power to compose and to delegate one or more sub-
committees consisting of an equal number of the Associations and the Union, who need not be
members of the Joint Board, to perform such duties for the Joint Board as it may direct.

SECTION 3, The Joint Board shall have the power to summon before it and to question or examine
any Employer signatory to this Agreement or the Union. It shall have the power to Tequire the
production of books, papers or other evidence it may deem necessary.

SECTION 4. All complaints to the Joint Board shall be in writing, stating the nature of the
complaint.

SECTION 5. Notwithstanding anything to the contrary, a proper quorum of the Joint Board shall
consist of any number not less than two (2) but equal from the Associations and the Union, and in
which case the decision of such number shall have the same force and effect as if the whole three

(3) from the Associations and the Union had acted.

(a) Hearings conducted by the Joint Board, its decision and findings shall be in full force and effect
irrespective of the number of representatives either side may have present at hearings.

(b) When voting on a question, complaint or finding the Associations and the Union shall each
have one (1) vote and these votes shall be equal irrespective of the representatives present and

voting.

SECTION 6. The decisions and findings of the Joint Board, including any imposition of penalties,
shall be final and binding upon the signatory contractors and the Union, all members of each

thereof and all interested parties.

ART. XV. It shall be a purpose of the Joint Board to plan, develop and effectuate a program
designed to provide opportunities for fuller employment by expanding the market for the Taping
and Finishing Business, and to administer and to provide for the enforcement for all Trade
Agreements not otherwise provided for in this Agreement. The Joint Board shall elect its own
officers, appoint its own committees, and formulate rules and regulations not inconsistent with the
provisions of this Agreement which shall be binding upon the parties.

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The Joint Board shall have the authority to employ the necessary help to effectuate its purpose.

The cost of administration necessary to carry out the functions of the Joint Board shall be borne
by all Employers in agreement with Local Union 1974 and shall for all purposes constitute an
expense of doing business under this Agreement. Commencing June 28, 2017, each Employer
shall pay the sum of twenty ($.20) cents per hour for each Journeyperson and/or Apprentice, for
the administration of the Joint Board. This contribution shall be included in the prepayment stamp
plan. If the Employers fail to pay the administrative charges to the Joint Board, the Joint Board
shall have the right to take whatever steps are necessary to recover the administrative charges
owing to the Joint Board and the Employer shall be liable for all costs for collections of the
payments due together-with attorney’s fees and such penalties as may be assessed by the Joint

Board.

The Joint Board shall contribute to the International Joint Painting, Decorating and Drywall
Apprenticeship and Manpower Training Fund a minimum of ten cents ($0.10) for each hour or

portion thereof for which Employee receives pay.

The Joint Board shall contribute to the Labor Management Cooperation International Fund a
minimum of ten cents ($0.10) for each hour or portion thereof for which an Employee receives

pay.

The Joint Board is a continuing body, unless specifically cancelled by a succeeding agreement
between the parties hereto. All rules and regulations promulgated by the Board shal! continue in
force and effect from Agreement to Agreement, unless specifically repealed by the Board or by
agreement of both parties to this Agreement.

ART. XVL SECTION 1. In the event the Employer sub-contracts any job-site work covered by
this Agreement, the Employer shall be a guarantor of performance by the sub-contractor of all
terms and conditions of said sub-contractor Agreement with the Union or, in the absence of such
an event, the Employer shall be liable to the Union for any act or omission of the sub-contractor
which in any way departs from or is inconsistent with the terms and conditions of said sub-
contractor’s agreement with the Union, or, in the absence of such an Agreement, with the terms of

this Agreement.

SECTION 2. No Employer shall sub-let or sub-contract any finishing, taping, pointing,
skimcoating, spraying other work done by members of the Union to any other person unless:

(a) the Employer has made request to the Union for approval, accompanying such request with a
guarantee in writing for the sub-contractor’s payment of all contributions that may become due the

Funds;

(b) the Union has upon such request given its approval in writing; and
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(c) the person to whom the work is sub-let or sub-contracted is an Employer under contract with
the Union.

SECTION 3. Employers shall not sub-let or sub-contract to Journeypersons or Apprentices any
finishing, taping, pointing, skimcoating, spaying or other work done by members of the Union.
Journeypersons or Apprentices shall not either directly or indirectly, whether through their spouses
or through any other subterfuge, contract to do any taping, finishing or other work covered by this

Trade Agreement.

SECTION 4, Each Employer shall notify the Joint Board on the proper form upon receiving
contract award from any Builder, Owner Builder, General Contractor, or other contractor. Once
any Employer has been awarded a contract, it shall be a violation of this Agreement to sub-contract
or re-subcontract the same contract awarded to another Employer.

SECTION 5. No Employer who is a party to this Agreement shall accept or take any job or work
on or in any project or building where another Employer has done or performed any taping or
finishing work and has not been paid in full; and the Union agrees not to furnish any Drywall
Tapers or Apprentices for any job or work where the Employer has not been paid in full for any
work, labor, material and services furnished by the Employer.

SECTION 6. PRESERVATION OF WORK CLAUSE.

(a) To protect and preserve, for the Employees covered by this Agreement, all work they have
performed and all work covered by this Agreement, and to prevent any device or subterfuge to
avoid the protection and preservation of such work, it is agreed as follows: If the Employer
performs on-site construction work of the type covered by this Agreement, under its own name or
ihe name of another, as a corporation, company, partnership, or other business entity, including a
joint venture, wherein the Employer, through its officers, directors, partners, owners, oF
stockholders, exercises directly or indirectly (through family members or otherwise), management,
control, or majority ownership, the terms and conditions of the Agreement shall be applicable to

all such work.

(b) If the Employer violates Section 6 (a) of this Article, the Union may resort to all available legal
or economic recourse, including cancellation of this Agreement, or the Union may consider the
violation a dispute to be processed in accordance with the provisions of the Agreement on the
handling of grievances and the final and binding resolution of disputes. As a remedy for violations
of this Article, the Joint Board or Arbitrator shall be able, at the request of the Union, to require
an Employer to pay 1) to affected Employees covered by this Agreement, including registered
applicants for employment, the equivalent of wages those Employees have lost because of the
violations, and 2) into effected Fringe Benefit Funds to which this Agreement requires
contributions any delinquent contributions that resulted from violations. The Joint Board or

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Arbitrator shall be able also to provide any other appropriate remedies, whether provided by law
or this Agreement. The Union shall enforce a decision of the Joint Board or Arbitrator under this
Article only through arbitral, judicial, or governmental (for example, the National Labor Relations

Board) channels.

(c) If, after an Employer has violated this Article, the Union and/or the Trustees of one (1) or more
Fringe Benefit Funds to which this Agreement requires contributions institute legal action to
enforce an award by an Arbitrator or the Joint Board remedying such violation, or defend an action
that séeks to vacate such award, the Employer shall pay any accountants’ and/or attorneys’ fees
incurred by the Union and/or Fringe Benefit Funds, plus costs of the litigation, that have resulted
from such legal action. This section does not affect other remedies, whether provided by law or
this Article, which may be available to the Union and/or the Fringe Benefit Funds.

SECTION 7. The Associations and the Union agree to the elimination of lumping (the sub-
contracting of labor without material). Every Employer or sub-contractor must furnish both labor
and material complete under one contract.

SECTION 8. The parties agree to quality workmanship based upon job specifications and scope
of work. Job specifications shall be available for inspection by the Union. All jobs shall be
performed in accordance with the Architects’ specifications.

ART. XVIL JOINT HEALTH COMMITTEE. There shall be established a Joint Health Committee
consisting of two (2) members of the Union, designated by the Union, and two (2) persons
designated by the Associations. The duties of the committee are to make recommendations to both
the Union and the Associations on all items of health affecting the taping industry.

ART. XVII. SECTION 1. HEALTH RULES. The Joint Board shall make adequate and proper
provisions for the health and safety of the Journeypersons and Apprentices in connection with their
work, and as far as possible protect them from hazards of the trade. It is expressly understood and
agreed that Rule 23 of the New York State Industrial Code shall be strictly complied with.

SECTION 2. No Employees shall work where any of these health rules are violated.

SECTION 3.

RULE NO. 1. REST PERIODS. Employees shall take a ten minute morning break and a ten minute
afternoon break on 8- hour Project Labor Agreement and special industry 8 hour per day jobs.

RULE NO. 2. ADEQUATE WASHING FACILITIES. Where hot or cold water is not available in
or about the clothes locker, a sufficient supply of pails of water and soap powder shall be furnished
to the Journeypersons and Apprentices twice a day to provide adequate facilities for clean washing.

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No common pail or bucket shal! be used for washing by more than five (5) Journeypersons. Five
(5) minutes shall be allowed for washing up at noon, and at quitting time.

RULE NO. 3. DRINKING WATER. Fresh drinking water and sanitary cups shall be available to
Employees at all times.

RULE NO. 4. EATING PLACE. Employees shall not eat lunch in paint lockers, clothes lockers,
or any area where toxic or hazardous materials are stored.

RULE NO. 5. WORK CLOTHES. The uniform of the Journeyperson and Apprentices shall be
white overalls, white shirt and cap, and shall be kept clean by the Journeyperson and Apprentices.

RULE NO. 6. CARE OF INJURED. Employees, no matter how slightly injured, must immediately
teport such injury to the Employer’s representative and a Union representative and shal! be
immediately taken care of by a physician. Any Employee who leaves work because of an injury
or to assist an injured Employee shall be paid for the entire day. On all jobs where there are five
(5) Employees or more a first-aid kit shall be provided.

RULE NO. 7. USE OF ELEVATORS. On all buildings over six (6) stories in which elevator
service is provided for any other trade, such service shall be made available to taping Employees.

RULE NO. 8. The use of tools, to be furnished by the Employer, shall be permitted under OSHA
rules and regulations, but shall not be a condition of employment. An Employer found to have
violated this provision shall be prohibited from the use of tools for a period of twelve (12) months.
Any Journeyperson or Apprentice using the tools must be certified.

RULE NO. 9. Safety masks of any type approved by the Union and by OSHA shall be provided
by the Employer to every Employee on every job where either sanding, mixing or spraying is or
has been going on. It shall be the duty of the Employer and the Union to require Employees to
wear the mask. There shall be no disciplinary action taken against Employer if he supplies the
mask to the job if the Employee fails to use the mask. Failure to use the safety mask shall be

grounds for dismissal.

RULE NO. 10. No powdered mixtures and no new compounds shall be used unless the Joint Board
has granted a variance for such mixture or compound. The joint Board may grant such a variance
only if the material is or has been approved either by OSHA or by Mount Sinai School for
Experimental Research; however, no variance shall be granted or continued for the use of any
mixture that has been disapproved by OSHA. Any mixture for which a variance is granted shall
be used only under controlled conditions approved by the Joint Board.

RULE NO. 11. Employees shall not work in the presence of toxic or irritant materials, or any fume
or fluid of other material causing pain, injury or dizziness. The Employer and the Union shall be

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notified immediately of such conditions. If a job determination is in dispute it shall be referred to
the Joint Board for a decision.

RULE NO. 12. No Employer shall knowingly permit Employees to work in the presence of toxic
or irritant materials, of any fume or fluid or other material causing pain, injury and dizziness.

RULE NO. 13. The Employer shall provide scaffolding and work benches that are safe and of
durable construction. The use of buckets in place of scaffolding and work benches prohibited.

RULE NO. 14. No person of violent or oppressive tendencies shall serve as Foreperson, Assistant
Foreperson, or Steward. This situation is to be determined by the Joint Board. No person of such
tendencies found guilty by the Joint Board shall serve as Foreperson or Steward during the life of

the contract.

RULE NO. 15. In order to assure conditions of safety and efficiency, the Joint Board shall
promulgate rules to promote the safety of Employees working on high interior scaffolding and
swing scaffolding. It is mandatory that a safety belt be used on all swing scaffolds and whenever
practicable on high interior scaffolding, and that Employees complete safety training classes in

this regard.
RULE NO. 16. No Employee shall work in any area where Asbestos is being removed.

RULE NO. 17. It shall be the duty of the Employer to immediately notify the Union if any asbestos
or any asbestos product is being or is to be used or removed on any job.

ART. XIX. All Employers shall carry all insurance required under State and/or Federal Laws. All
Employers are required to keep on file with the Union a Certificate of Workers’ Compensation

and New York State Disability Insurance.
ART. XX. SECTION 1. FRINGE BENEFIT FUNDS.

(a) Contemporaneously with the execution of this Trade Agreement, the parties have entered into
trust agreements establishing the following trust funds:

(i) Drywall Tapers’ Insurance Fund;
(ii) Drywall Pension Fund;
(iii) Drywall Tapers’ Annuity Fund.

Each Employer, whether a member of the Associations or not, agrees to be bound by each of the
said trust agreements as though he/she had actually signed the same, and further agrees to be bound
by all actions taken by the Trustees of each of the said trust funds pursuant to the said trust

agreements.

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(b) The parties agree that, in addition to wages to be paid as elsewhere provided in this Trade
Agreement, each Employer shall, commencing with the effective date of this Agreement and for
the duration thereof, at or before the close of each remittance period, make contributions for such
period to the said funds on behalf of each Employee employed by such Employer and covered by
this Agreement, as hereinafter set forth below.

(c) Benefit Fund Contributions for all Journeypersons covered by this Agreement shali be as
follows: For the period of June 28, 2017 to December 26, 2017, each Employer shall make

contributions to the funds listed below in the following amounts:

(i) Drywall Tapers Insurance Fund: The sum of $8.75 per hour;

(ii) Drywall Pension Fund: The sum of $5.00 per hour;

(iii) Drywall Tapers Annuity Fund: The sum of $4.80 per hour;

(iv) Vacation Fund: The sum of $4.56 per hour;

(v) Joint Board: The sum of $.20 per hour;

(vi) Drywall Tapers Industry Promotion Fund: The sum of $.25 per hour;
(vii) Apprentice Fund: The sum of $.50 per hour,
(viii) IUPAT Political Action Fund (PAT): The sum of $.10 per hour,

(ix) Local 1974 dues check-off: The sum of $2.15

For the period of December 27, 2017 to June 27, 2018, the Fund contributions shall be as
allocated by the Union.

For the period of June 28, 2018 to June 27, 2019, the Fund contributions shall be as
allocated by the Union.

For the period of June 28, 2019 to June 27, 2020, the Fund contributions shall be as
allocated by the Union.

(d) Benefit Fund Contributions for all Apprentices covered by this Agreement who are enrolled in
the Three Year Program shall be as follows: For the period of June 28, 2017 to December 26,
2017, each Employer shall make contributions to the funds listed below in the following amounts:

1* Year Apprentice

(i) Drywall Tapers Insurance Fund: The sum of $8.75 per hour,
(ii) Drywall Pension Fund: The sum of $2.00 per hour;
(iii) Drywall Tapers Annuity Fund: The sum of $0.00 per hour;
(iv) Vacation Fund: The sum of $0.00 per hour;
(v) Joint Board: The sum of $.08 per hour,
(vi) Drywall Tapers Industry Promotion Fund: The sum of $.10 per hour;

(vii) Apprentice Fund: The sum of $.50 per hour,
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(viii) IUPAT Political Action Fund (PAT): The sum of $.10 per hour;
(ix) Local 1974 dues check-off: The sum of $,88

2"! Year Apprentice

(i) Drywall Tapers Insurance Fund: The sum of $8.75 per hour,

(ii) Drywall Pension Fund: The sum of $3.00 per hour;

(iii) Drywall Tapers Annuity Fund: The sum of $2.88 per hour,

(iv) Vacation Fund: The sum of $2.74 per hour;

(v) Joint Board: The sum of $.12 per hour;

(vi) Drywall Tapers Industry Promotion Fund: The sum of $.15 per hour,
(vii) Apprentice Fund: The sum of $.50 per hour;
(viii) TUPAT Political Action Fund (PAT): The sum of $.10 per hour;

(ix) Local 1974 dues check-off: The sum of $1.29.

3rd Year Apprentice

(i) Drywall Tapers Insurance Fund: The sum of $8.75 per hour,

(ii) Drywall Pension Fund: The sum of $4.00 per hour;

(iii) Drywall Tapers Annuity Fund: The sum of $3.84 per hour;

(iv) Vacation Fund: The sum of $3.65 per hour;

(v) Joint Board: The sum of $.16 per hour;

(vi) Drywall Tapers Industry Promotion Fund: The sum of $.20 per hour,
(vii) Apprentice Fund: The sum of $.50 per hour;
(viii) IUPAT Political Action Fund (PAT): The sum of $.10 per hour;

(ix) Local 1974 dues check-off: The sum of $1.72.

For the period of December 27, 2017 to June 27, 2018, the Fund contributions shall be as
allocated by the Union.

For the period of June 28, 2018 to June 27, 2019, the Fund contributions shall! be as
allocated by the Union.

For the period of June 28, 2019 to June 27, 2020, the Fund contributions shall be as
allocated by the Union.

(e) Benefit Fund Contributions for all Apprentices covered by this Agreement who are enrolled in
the Four Year Program shall be as follows: For the period of June 28, 2017 to December 26, 2017,
each Employer shall make contributions to the funds listed below in the following amounts:

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1* Year Apprentice

(i) Drywall! Tapers Insurance Fund: The sum of $8.75 per hour;
(it) Drywall Pension Fund: The sum of $2.00 per hour;
(iii) Drywall Tapers Annuity Fund: The sum of $0.00 per hour,
(iv) Vacation Fund: The sum of $0.00 per hour;
(v) Joint Board: The sum of $.20 per hour;
(vi) Drywall Tapers Industry Promotion Fund: The sum of $.10 per hour,
(vii) Apprentice Fund: The sum of $.50 per hour;
(viii) IUPAT Political Action Fund (PAT): The sum of $.10 per hour;
Local 1974 dues check-off. The sum of $.88.

2™ Year Apprentice

(i) Drywall Tapers Insurance Fund: The sum of $8.75 per hour;

(it) Drywall Pension Fund: The sum of $2.50 per hour,

(iii) Drywall Tapers Annuity Fund: The sum of $2.40 per hour;

(iv) Vacation Fund: The sum of $2.28 per hour;

(v) Joint Board: The sum of $.20 per hour;

(vi) Drywall Tapers Industry Promotion Fund: The sum of $.13 per hour;
(vii) Apprentice Fund: The sum of $.50 per hour;
(viii) TUPAT Political Action Fund (PAT): The sum of $.10 per hour;

(ix) Local 1974 dues check-off: The sum of $1.08.

3rd Year Apprentice

(i) Drywall Tapers Insurance Fund: The sum of $8.75 per hour;

(ii) Drywall Pension Fund: The sum of $3.00 per hour;

(iii) Drywall Tapers Annuity Fund: The sum of $2.88 per hour;

(iv) Vacation Fund: The sum of $2.74 per hour;

(v) Joint Board: The sum of $.20 per hour;

(vi) Drywall Tapers Industry Promotion Fund: The sum of $.15 per hour;
(vii) Apprentice Fund: The sum of $.50 per hour,
(viii) IUPAT Political Action Fund (PAT): The sum of $.10 per hour;

(ix) Local 1974 dues check-off: The sum of $1.29.

4th Year Apprentice

(i) Drywall Tapers Insurance Fund: The sum of $8.75 per hour;
(ii) Drywall Pension Fund: The sum of $4.00 per hour;

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(iti) Drywall Tapers Annuity Fund: The sum of $3.84 per hour;
(iv) Vacation Fund: The sum of $3.65 per hour;
(v) Joint Board: The sum of $.20 per hour;
(vi) Drywall Tapers Industry Promotion Fund: The sum of $.20 per hour,
(vii) Apprentice Fund: The sum of $.50 per hour;
(viii) TUPAT Political Action Fund (PAT): The sum of $.10 per hour;
(ix) Local 1974 dues check-off: The sum of $1.72.

For the period of December 27, 2017 to June 27, 2018, the Fund contributions shall be as
allocated by the Union.

For the period of June 28, 2018 to June 27, 2019, the Fund contributions shall be as
allocated by the Union.

For the period of June 28, 2019 to June 27, 2020, the Fund contributions shall be as
allocated by the Union.

(£) Such contributions shall be made, on a monthly basis, as follows: Each Employer shall, on or
before the end of each remittance period, post on the Drywall Tapers Insurance Fund's computer
system, a payroll report for each of the weekly pay periods covered, and pay to the Drywall Tapers
Insurance Fund an amount equal to the contributions due from such Employer to the following
funds: Pension Fund, Annuity Fund, Insurance Fund, Vacation Fund, Joint Board, Promotional
Fund, Apprentice Fund, PAT, and Union dues check-off.

(g) The Drywall Tapers’ Insurance Fund shall pay over to each of the other trust funds and the
Union moneys equal to the contributions due to them from each such Employer.

SECTION 2. EMPLOYEES WORKING OUT OF TOWN. Employers shall pay contributions to
the said trust funds, in the manner described in Section | of this Article, whether earned by the
Employees while working outside the geographical area described in Article I, Section 1 or while
working within that geographical area.

SECTION 3. DEFINITION OF “GROSS WAGES”. “Gross wages” and “Gross wages payable”
as used in this Agreement shall mean the actual total gross earnings of any Employer's

Journeypersons and Apprentices.

SECTION 4. DRYWALL TAPERS INSURANCE FUND. The sums received by the Trustees of
the Drywall Tapers’ Insurance Fund pursuant to Section 1 of this Article and remaining after the
payment over, as provided in paragraph (i) of that Section, of contributions due to the other trust
funds, shall be administered and expended by the said Trustees in accordance with the trust

agreement establishing such Fund, as amended, for the purpose of:

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(i) providing such amounts of life, accident and health insurance, hospitalization insurance,
prescription drugs, dental care and optical care of Journeypersons and Registered Apprentices,
their spouses and children under 26 years of age, as the Trustees way determine, to pay or provide
for similar benefits for the Employees of Local Union 1974 of, New York City, the Joint Board,
and Employees of this Trust and the dependents of such Employees as the Trustees may determine;

(ii) Setting aside and maintaining as a vacation fund, in a separate and individual account on behalf
of each Journeyperson or Apprentice sums received by the Employer, in the amount set forth in
Section 1 of this Article, for such Journeyperson or Apprentice. The said vacation fund so
maintained on behalf of each Journeyperson or Apprentice shal! be paid to such Journeyperson or
Apprentice by the said Trustees no less than once a year.

SECTION 5. DRYWALL PENSION FUND. The sums received by The Trustees of the Drywall
Pension Fund pursuant to Section 1 of this Article shall be administered and expended by the said
Trustees in accordance with the trust agreement establishing such Fund, for the payment of
pensions to covered Employees and their beneficiaries.

SECTION 6. DRYWALL TAPERS’ ANNUITY FUND. The sums received by the Trustees of the
Drywall Tapers’ Annuity Fund pursuant to Section 1 of this Article shall be administered and
expended by the said Trustees in accordance with the trust agreement establishing such Fund, to
make annuities and certain other benefits, including supplementa! unemployment benefits to

covered Employees.

SECTION 7. ENFORCEMENT.

(a) The contributions hereinabove provided for constitute a consideration for the making of this
Agreement and are of its very essence. Failure by any Employer to pay the amounts due from
him/her to the Trustees shall be deemed a breach of this Agreement, and in such event the Union
may take such steps as it deems necessary to enforce the foregoing and following provisions
relating to payment to the Trustees. In the event that an Employer fails to make the required
payments for more than four (4) weeks the Union may order his/her Journeypersons and
Apprentices to cease work until the payment has been made. Such Employer shall pay all such
Journeypersons and Apprentices for all time lost, not to exceed one (1) week’s wages per drywall

taper.

(b) Any Employer required by this Article to pay the contributions payable to his/her
Journeypersons and Apprentices or on their behalf for the remittance period immediately
preceding, who fails to pay such contributions within one (1) week of the date prescribed for their
payment shall pay to the Trustees as liquidated damages the sum of ten percent (10%) of the
required contributions in addition to the required contributions. If any Employer during any
calendar year failed to pay such contributions within the prescribed date for more than a total of

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five (5) weeks and not more than ten (10) weeks, the penalty for such delinquency shall be twenty
percent (20%) of the required contributions. If the total is more than ten (10) weeks the penalty
shall be thirty percent (30%). Any Employer who has been delinquent a total of more than ten (10)
weeks is deemed to have been guilty of having violated the payment of wage clause and is subject
to all penalties implicit in such violation.

(c) Any Employer who fails to comply with the preceding paragraph shall be cited before the Joint
Board which may, ona finding, in its discretion, impose such penalties and/or liquidated damages
as it deems appropriate, aside from and in addition to the liquidated damages provided for above.

(d) It is agreed that the Employer will be bound in all respects by the rules and/or regulations
established by the Trustees relating to Employer contributions to the Trust Fund, including rules
for resolving any disputes concerning Employer payments or reports to the Trustees.

(e) Should any Employer, after an audit, seek to challenge the result, he shall be entitled on request
to a hearing before the Trustees and an opportunity fully to present all available facts, and be
subject to open examination thereon, which may establish his/her actual, lower labor cost in the
circumstances of his/her particular operations, which would warrant a readjustment from the
estimated wage figure to his/her actual total gross earnings figure, as it may appear to the Trustees.
If his/her right to any such readjustment is proven satisfactorily, the Trustees shall remit the
assessment of the excess contributions. If, after an audit, and a final assessment of further
contributions due, the Employer fails, within ten (10) days after written notice thereof given by
the Trustees, to request in writing a hearing before them as provided above to protest the
assessment and to seek a readjustment of contributions, the Employer shall be deemed
conclusively to have consented thereto, with no further recourse.

(f) As a condition to any appeal from an audit report, the Employer shall post security in the sum
of the full amount of the fine or of the contributions determined by the audit report to be due.

(g) All delinquencies in fund contributions, in Joint Board fees, and in fines and assessments levied
by the Joint Board must be paid up by an Employer before signing any agreement with the Union.

ART. XXI. PROMOTIONAL FUND AND IUPAT POLITICAL ACTION FUND.

(a) Each Employer shall make the following Promotional Fund contributions, which shall be
included in the prepayment stamp plan.

From June 28, 2017 through December 26, 2017, each Employer will contribute the sum of twenty-
five cents $0.25 per hour for each Joumneyperson; for Apprentices in the three year program each
Employer will contribute ten cents ($0.10) per hour for each 1 Year Apprentice; fifteen cents
($0.15) per hour for each 2" Year Apprentice; twenty cents ($0.20) per hour for each 3% Year
Apprentice; and for Apprentices in the four year program each Employer will contribute ten cents

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($0.10) per hour for each 1% Year Apprentice; thirteen cents ($0.13) per hour for each 2™ Year
Apprentice; fifteen cents ($0.15) per hour for each 3"! Year Apprentice and twenty cents ($0.20)
per hour for each 4" Year Apprentice.

For the period of December 27, 2017 to June 27, 2018, the Fund contributions shall be as
allocated by the Union.

For the period of June 28, 2018 to June 27, 2019, the Fund contributions shall be as
allocated by the Union.

For the period of June 28, 2019 to June 27, 2020, the Fund contributions shall be as
allocated by the Union.

The Drywall Taping Contractors’ Association established a Drywall Tapers Industry
Promotional Fund effective September 1, 1993, which among other things promotes the welfare
of the taping industry within the New York Metropolitan Area and provides expanded
opportunities for covered Employees. Contributions received from members of the Drywall
Taping Contractors’ Association shall be distributed to that Association. Reports shall accompany
remittance on forms required by the Trustees of the Fund and shall be paid through the Drywall
Tapers Insurance Fund. The Drywall Tapers Industry Promotional Fund shall be administered
solely by Employers that are members of that Association pursuant to a Declaration of Trust.

Contributions received from members of the Association of Wall-Ceiling & Carpentry
Industries of New York, Inc. (‘AWCCINY”) shall be distributed to the AWCCINY.

Contributions received from all other employers shall be distributed to the Drywall Taping
Contractors’ Association of Greater New York. The funds so collected and distributed shall not be
used for any purpose other than those set forth in the Declaration of Trust.

(b) Commencing June 28, 2017, each Employer shall deduct from every Journeyperson’s or
Apprentice’s wages the sum of ten cents ($0.10) per hour and pay same as a contribution to the
International Union of Painters and Allied Trades Political Action’ Together Fund (PAT). Each
Employer agrees to honor authorization for check-off of political contributions from all
Journeypersons or Apprentices who are Union members and who supply such authorization in the
form of such other similar form as the PAT shall deem acceptable.

ART. XXII. NO STRIKES OR LOCKOUTS. There shall be no strikes or lockouts in the shops
or upon the work of the members of the Associations, but the Union reserves its constitutional!

tight not to work with non-union Journeypersons and Apprentices.

Employees covered by this Agreement shall have the right to respect any legal primary picket line
validly established by any bona fide labor organization, and the Union party to this Agreement has

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the right to withdraw Employees covered by this Agreement whenever the Employer party to the
Agreement is involved in a legitimate primary labor dispute with a bona fide labor organization.
Any Employer that has been adjudged by the Joint Board in violation of this Agreement, or of any
charge brought against him/her before the Joint Board shall be outside the protection of this section
until such time as he is in compliance.

In the case of an Employer who has failed to comply with a decision of the Joint Board, the Union
may order his/her Journeypersons and Apprentices to cease work until he is in compliance on any
and all jobs.

ART. XXIII. SECTION 1. Journeypersons and Apprentices shall not work for Employers who are
not in contractual relations with Local Union 1974 or any council or Local Union affiliated with
the IUPAT, it being understood that Journeypersons and Apprentices. may work directly for the
City and State of New York, and the Federal Government. Contractual relations as used in this
diction shall mean a written agreement containing substantially all of the provisions of the Trade
Agreement.

SECTION 2. The Union shall not permit Journeypersons or Apprentices to do any work on any
non-union Building, except as may otherwise be permitted under this Agreement.

ART. XXIV. JURISDICTIONAL DISPUTES. It is mutually agreed between the parties that in the
event of disputes between trades and disputes relative to questions of jurisdiction of trades, the
parties will abide by previous decisions as to jurisdiction published in the latest issue of the
B.T.E.A. Handbook, commonly known as “The Green Book”.

It is mutually agreed between the parties hereto that disputes between trades and disputes relative
to jurisdiction of trades not covered by decisions in the latest issues of the B.T.E.A. Handbook,
commonly known as “The Green Book”, shall be adjusted in accordance with the principles of the
New York Plan for the Settlement of Jurisdictional Disputes.

Pending determination of any dispute under the New York Plan for the Settlement of Jurisdictional
Disputes, as stated in the previous paragraph, the members of the Union shall remain at work on
the project without change of status.

ART. XXV. The term of this Agreement shall be for the period commencing June 28, 2017 and
ending June 27, 2020.

ART. XXVI. Without recognizing the applicability of the National Labor Relations Act, and any

amendments thereto of general application or specifically applicable to the Building and

Construction Industry, the parties agree that they will abide by the provisions of said Act, and by

any amendments thereto of general application or specifically applicable to the Building and

Construction Industry, and any and all provisions of the Agreement which may be in conflict with
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the said Act shall be deemed to be modified and amended accordingly so as to conform to and
comply with the said Act or any amendments thereto.

ART. XXVII. MARKET RECOVERY.

The Market Recovery Agreement shall apply to residential and hospitality work in Local Union
1974’s jurisdictional areas, which currently or has previously been performed by non-union
contractors, and shall apply to residential and hospitality work which currently or has previously
been performed in Manhattan by non-union contractors. The Market Recovery Agreement shall
not apply to prevailing wage work, including without limitation any city, state or federally
subsidized projects.

¢ All work must be approved by the Joint Trade Board or their respective designees, and
such approval will not be unreasonably withheld.

e The Standard workday shall consist of 7 or 8 hours a day at the option of the Employer.
The length of the workday must be preregistered.

e A registration form for work under the Market Recovery Agreement shall be created.

e An appropriate Market Recovery Stamp for Tapers shall be utilized.

e Work performed under this provision shall come through Local Union 1974. All
Journeypersons and Apprentices are eligible to work on such projects.

The following terms shall apply to all work performed under Market Recovery:

¢ Payroll Costs. For all work performed outside of Manhattan, the wage and benefit rates
contained in the Trade Agreement shall be adjusted to provide for a twenty percent (20%)
reduction in the payroll costs attributable to applicable wage and benefit rates. This
reduction may be accomplished by any lawful method, including direct payroll reductions,
targeting program, or any combination thereof, resulting in the equivalent of a twenty
percent (20%) reduction in payroll costs (wage and benefit costs)

e The standard workweek shall consist of any 35 or 40 hours in a week, at the Employer’s
discretion, excluding Saturday and Sunday (which, if worked, will be considered
overtime). The length of the workweek for each job shall be preregistered.

e The standard workday shall consist of 7 or 8 hours a day at the option of the Employer.
The length of the workday must be pre-registered.

e The Market Recovery Rate does not apply to Apprentices.

ORGANIZING

e The Joint Trade Board (and not the Joint Trade Committee) shall have full authority to
modify the terms of this Trade Agreement, and to pinpoint, maintain and/or organize work
covered under this Trade Agreement for the life of the Trade Agreement, with respect to
organizing work. Relief shall be available only as long as at least one trade on the job is

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offering a reduced rate. The Union and the Associations agree that the Joint Trade Board
may provide any type of economic relief from this agreement necessary to help recapture
the work historically performed by non-union contractors.

ART. XXVIII. The parties to this Agreement adopt the Collectively Bargained Workers’
Compensation Alternative Dispute Resolution (ADR) Program.

ART. XXIX. If any Article or Section of this Agreement should be held invalid by operation of
law or by any tribunal of competent jurisdiction, or if compliance with or enforcement of any
Article or Section should be restrained by such tribunal pending a final determination as to its
validity, the remainder of this Agreement or the application of such Article or Section to persons
or circumstances other than those as to which it has been held invalid or as to which compliance
with or enforcement of has been restrained, shall not be affected thereby.

In the event that any Article or Section is held invalid or enforcement or compliance with which
has been restrained, as above set forth, the parties affected thereby shall enter into immediate
collective bargaining negotiations, upon the request of the Union, for the purpose of arriving at
mutually satisfactory replacement. Within sixty (60) days after the beginning of the period of
invalidity or restraint either party shall be permitted all legal or economic recourse in support of
its demands notwithstanding any provisions in the Agreement to the contrary.

ART. XXX. In the event that the Union enters into a contract, or contracts, or enters into renewals
or modifications of a contract, or contracts, with any employers performing the work covered by
this Trade Agreement which contain new or revised economic terms or other conditions effective
on or after June 28, 2017, which economic terms or other conditions are more favorable to such
Employers than the terms contained in this Trade Agreement, the Union shall immediately notify
the Associations of such more favorable terms, and the Associations and all its members shall be
entitled to and may have the full benefit of any and all such more favorable terms, upon notification
to the Union. The Union shall also provide written notice to the Associations if it offers to any
contractor that is not a member of the Associations the terms set forth in the market recovery
agreement. This section does not apply to any agreements entered into by the Union on behalf of
Local Union No. 1456 or to any Project Labor Agreements.

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WITNESS WHEREOF, the parties hereto have caused this Trade Agreement to be signed by their
respective officers the day and year first above mentioned.

DISTRICT COUNCIL NO. 9, DRYWALL TAPERS & POINTERS OF GREATER NEW
YORK, LOCAL UNION 1974, INTERNATIONAL UNION OF PAINTERS AND ALLIED
TRADES, AFL-CIO.

By: (Ne &. enkr
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DRYWALL TAPING CONTRACTORS’ ASSOCIATION OF GREATER NEW YORK

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ASSOCIATION OF WALL-CEILING & CARPENTRY INDUSTRIES OF NEW YORK, INC.

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APPENDIX A .
INDEPENDENT AGREEMENT
THIS AGREEMENT, made as of the date indicated herein below by and between

“Toerock Tntenas nc cee... (Print Name of Company)

Hereinafter designated as the “EMPLOYER” and Drywall Tapers & Painters of Greater New
York, Local Union 1974, International Union of Painters and Allied Trades, AFL-C10,
hereinafter designated as the “UNION”. WITNESSETH as follows:

WHEREAS, the parties hereto desire to establish Terms and Conditions upon which
Journeypersons and Apprentices shall work for the EMPLOYER, and

WHEREAS, the parties hereto are cognizant and aware of a certain agreement previously entered
into between the UNION and THE DRYWALL TAPING CONTRACTORS’ ASSOCIATION
OF GREATER NEW YORK and the WALL-CEILING & CARPENTRY INDUSTRIES OF
NEW YORK, INC., hereinafter collectively referred to as the “ASSOCIATION”, dated June 28,
2017;

NOW THEREFORE, the parties hereto agree as follows:

1, The aforesaid agreement entered into between the UNION and the ASSOCIATIONS, a
copy of which agreement is annexed hereto, is incorporated herein and made a part of this

Agreement, and the terms and provisions thereof shall be binding as between the UNION and the
EMPLOYER, except as provided in paragraphs 2 and 3 below,

2, ART. XXII of the said agreement between the UNION and the ASSOCIATIONS,
relating to strikes and lockouts, is not a part of this Agreement and the terms and conditions
thereof shall not be effective or binding as between the UNION and the EMPLOYER.

3, ART. XXX of the said agreement between the UNION and the ASSOCIATIONS relating
to more favorable terms, is not a part of this Agreement and the terms and conditions thereof .
shall not be effective or binding as between the UNION and the EMPLOYER.

4, All references to the ASSOCIATIONS or any member thereof in the said agreement

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between the UNION and the ASSOCIATIONS shall be interpreted to refer to the EMPLOYER.

5 The duration of this Agreement shall be as provided in the agreement between the
UNION and the ASSOCIATIONS incorporated herein; and the terms of this Agreement shall be
effective June 28, 2017.

IN WITNESS WHEREOF, the parties hereto have caused this Agreement to be signed by their
respective officers on the day written below.

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DISTRICT COUNCIL NO. 9, DRYWALL TAPERS & POINTERS OF GREATER NEW
YORK, LOCAL UNION 1974, INTERNATIONAL UNION OF PAINTERS AND ALLIED

TRADES, AFL-CIO
By.

YeymGnenda - “Tooker Tnknos

{Print Employer Name)

Signature 0 Hae Shanon — ————

Print Name: _\_ WAC A, sa St EES

Dated Signed: 7p iz. __.. 201Y

By:

 

Print Name, Address, Telephone and Fax Numbers of Employer:
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